                      UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

MAXWELL KADEL et al
         v.                                                             Case Number: 1:19cv272
DALE FOLWELL et al

                                            NOTICE
                                            ______
        TAKE NOTICE that a JURY TRIAL has been tentatively SET in the above-referenced
case for the JULY 5, 2022 MASTER CALENDAR TERM. Said term shall begin on July 5,
2022 at a place to be determined at a later date and will continue until all the cases on the
calendar have been tried. Cases will not necessarily be called for jury selection and trial in
the order in which they will appear on the calendar.

        PLACE:                TO BE DETERMINED AT A LATER DATE.
        DATE & TIME:          July 5, 2022 at 9:30 a.m.
        PROCEEDING:           Jury Trial

        *Counsel will be notified of a date certain for trial closer to the start of the term.

         A settlement conference in the above-referenced case will be set for a date at least two
weeks before the commencement of the Master Calendar term. Counsel are directed to bring
their clients and a representative from the corporations to the settlement conference.

        The parties shall comply in all respects with Fed. R. Civ. P. 26(a)(3) regarding final
pretrial disclosure, including the time requirements set out therein. Unless the court orders
otherwise, pretrial disclosures must be made no later than June 3, 2022. Motions in limine
must be filed no later than June 10, 2022. Any objections to pretrial disclosures and
responses to motions in limine must be served and promptly filed no later than June 17,
2022.

        Each party shall file a trial brief, along with proposed instructions on the issues no
later than June 13, 2022. Counsel shall consult and endeavor to file one (1) set of agreed upon
jury instructions to the extent practicable and may file competing jury instructions where there is
disagreement. An electronic Word version of the jury instructions shall be emailed to the
assigned district judge’s ECF mailbox.

John S. Brubaker, Clerk

By:     /s/ Debbie Blay

Date:    September 8, 2021

TO:     ALL COUNSEL AND/OR PARTIES OF RECORD




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